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                                      UNITED STATES DISTRICT
                                    COURT DISTRICT OF COLORADO

                                     CASE: 1:19-cv-02341-CMA-KMT

   CARLOS BRITO,

               Plaintiff,
   v.

   CDG - ACADEMY & BRIARGATE, LLC,
   a Limited Liability Company,

           Defendant.
   ________________________________________________/

                                    FIRST AMENDED COMPLAINT

          Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

   mobility-impaired individuals (hereinafter “Plaintiff”), sues, CDG - ACADEMY &

   BRIARGATE, LLC (hereinafter “Defendant”), and as grounds alleges:

                                 JURISDICTION, PARTIES. AND VENUE

          1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

   litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

   Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

          2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

   § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

          3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

   2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

   U.S.C. § 12181, et seq.

          4.           Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, residing

   and domiciled in El Paso County, Colorado, and is otherwise sui juris.
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           5.      At all times material, Defendant, CDG - ACADEMY & BRIARGATE, LLC, was

   a Limited Liability Company, with a principal office street address listed as 4014 N. Goldwater

   Blvd. #204, Scottsdale, Arizona and a place of business in Colorado Springs, Colorado.

           6.      At all times material, Defendant, CDG - ACADEMY & BRIARGATE, LLC,

   owned and operated a retail shopping location at 7808 N Academy Blvd, Colorado Springs,

   Colorado (hereinafter the “Commercial Property”).

           7.      Venue is properly located in the District of Colorado because Defendant’s

   Commercial Property is located in Colorado Springs, Colorado, Defendant regularly conducts

   business within Colorado Springs, Colorado, and because a substantial part(s) of the events or

   omissions giving rise to these claims occurred in Colorado Springs, Colorado.

                                      FACTUAL ALLEGATIONS

           8.      Although over twenty-seven (27) years have passed since the effective date of

   Title III of the ADA, Defendant has yet to make their facilities accessible to individuals with

   disabilities.

           9.      Congress provided commercial businesses one and a half years to implement the

   Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

   extensive publicity the ADA has received since 1990, Defendant continues to discriminate against

   people who are disabled in ways that block them from access and use of Defendant’s Commercial

   Property and the businesses therein, including the retail shopping store.

           10.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

   requires landlords and tenants to be liable for compliance.

           11.     Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

   pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

   from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to


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   his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires

   the use of a wheelchair to ambulate.

          12.       Defendant, CDG - ACADEMY & BRIARGATE, LLC, owns, operates and

   oversees the Commercial Property, its general parking lot and parking spots specific to the

   businesses therein, and it owns, operates and oversees said Commercial Property located in

   Colorado Springs, Colorado, that is the subject of this Action.

          13.       The subject Commercial Property is open to the public and is located in Colorado

   Springs, Colorado. The individual Plaintiff visits the Commercial Property regularly, to include

   a visit to the property on or about June 6, 2019 and encountered multiple violations of the ADA

   that directly affected his ability to use and enjoy the property. He plans to return to and often

   visits the Commercial Property and the businesses located within the Commercial Property, in

   order to avail himself of the goods and services offered to the public at the businesses therein, if

   the property/businesses become accessible.

          14.       Plaintiff visited the Commercial Property as a patron/customer, regularly visits

   the Commercial Property and businesses within the Commercial Property as a patron/customer,

   and intends to return to the Commercial Property and businesses therein in order to avail himself

   of the goods and services offered to the public at the property. Plaintiff is domiciled nearby in

   the same state as the Commercial Property, has regularly frequented the Defendant’s Commercial

   Property and businesses located within the Commercial Property for the intended purposes, and

   intends to return to the property within four (4) months’ time of the filing of this Complaint.

          15.       The Plaintiff found the Commercial Property to be rife with ADA violations.

   The Plaintiff encountered architectural barriers at the Commercial Property and wishes to continue

   his patronage and use of the premises.

          16.       The Plaintiff, CARLOS BRITO, has encountered architectural barriers that are in


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   violation of the ADA at the subject Commercial Property and businesses therein. The barriers to

   access at Defendant’s Commercial Property and businesses within the Commercial Property have

   each denied or diminished Plaintiff’s ability to visit the Commercial Property and endangered his

   safety. The barriers to access, which are set forth below, have likewise posed a risk of injury(ies),

   embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly situated.

          17.       Defendant, CDG - ACADEMY & BRIARGATE, LLC, owns/or and operates, a

   place of public accommodation as defined by the ADA and the regulations implementing the ADA,

   28 CFR 36.201 (a) and 36.104. Defendant is responsible for complying with the obligations of

   the ADA. The place of public accommodation that Defendant, CDG - ACADEMY &

   BRIARGATE, LLC, owns and operates is the Commercial Property business located at 7808 N

   Academy Blvd, Colorado Springs, Colorado.

          18.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing

   threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

   described Commercial Property and businesses therein, but not necessarily limited to the

   allegations in Paragraph 20 of this Complaint. Plaintiff has reasonable grounds to believe that he

   will continue to be subjected to discrimination at the Commercial Property and the businesses

   located within the Commercial Property, in violation of the ADA. Plaintiff desires to visit the

   Commercial Property and businesses located within the Commercial Property, not only to avail

   himself of the goods and services available at this Commercial Property and businesses therein,

   but to assure himself that the property and businesses therein are in compliance with the ADA, so

   that he and others similarly situated will have full and equal enjoyment of the property and

   businesses therein without fear of discrimination.

          19.       Defendant has discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages


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     and/or accommodations of the Commercial Property and businesses located within the

     Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

            20.       Defendant has discriminated, and continue to discriminate, against Plaintiff in

     violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

     January 26, 1993, if a Defendant has ten (10) or fewer employees and gross receipts of $500,000

     or less). A list of the violations that Plaintiff encountered during his visit to the Defendant’s

     Commercial Property and other businesses within the Commercial Property, include, but are not

     limited to, the following:

        A. Parking

   i.   There are accessible parking spaces that do not provide signs designating them as accessible,

        violating Section 4.6.4 of the ADAAG and Section 502.6 of the 2010 ADA Standards, whose

        resolution is readily achievable.

 ii.    The Plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

        located on an excessive slope. Violation: Some of the accessible parking spaces are located on

        a slope in violation of Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

        Standards, whose resolution is readily achievable.

 iii.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

        aisles are located on an excessive slope. Violation: There are accessible parking space access

        aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

        of the 2010 ADA Standards, whose resolution is readily achievable.

        B. Entrance Access and Path of Travel

   i.   The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

        Violation: There are inaccessible routes from the public sidewalk and transportation stop.

        These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the


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        ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

        resolution is readily achievable.

 ii.    The Plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

        Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2

        of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

        achievable.

 iii.   The Plaintiff had difficulty entering the restaurant without assistance, as the entrance threshold

        is too high. Violation: There is a threshold rise in excess of ½ inch at the restaurant entrance,

        violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards,

        whose resolution is readily achievable.

        C. Public Restrooms

   i.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

        not self-closing and does not have compliant door hardware. Violation: The accessible toilet

        compartment door does not provide hardware and features that comply with Sections 4.17.5

        and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

        whose resolution is readily achievable.

 ii.    The Plaintiff could not enter the accessible toilet compartment without assistance, as the

        required maneuvering clearance is not provided. Violation: The accessible toilet compartment

        does not provide the required latch side clearance at the door violating Sections 4.13.6 and

        4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010 ADA Standards, whose

        resolution is readily achievable.

 iii.   The Plaintiff could not use the toilet compartment without assistance, as one of the required

        size is not provided: Violation: The toilet compartments provided for public use at the facility




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        are in violation of Section 4.17.3 and Figure 30(a) of the ADAAG and Section 604.8.1 of the

        2010 ADA Standards, whose resolution is readily achievable.

 iv.    The Plaintiff could not flush the toilet without assistance, as the flush valve is not mounted on

        the wide area. Violation: The flush valve is not mounted on the compliant side in violation of

        Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards, whose resolution

        is readily achievable.

  v.    The Plaintiff could not transfer to the toilet without assistance in the accessible toilet

        compartment, as objects are mounted less than 1 1/2” below a grab bar, obstructing its use.

        Violation: The grab bars do not comply with the requirements prescribed in Sections 4.17.6

        and 4.26 of the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is

        readily achievable.

 vi.    The Plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

        12” above a grab bar obstructing its use. Violation: The grab bars in the accessible toilet

        compartment do not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of

        the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is readily

        achievable.

vii.    The Plaintiff could not use the lavatory without assistance, as the required knee & toe

        clearances are not provided. Violation: There are lavatories in public restrooms without the

        required clearances provided, violating the requirements in Section 4.19.2 and Figure 31 of the

        ADAAG and Sections 306 and 606.2 of the 2010 ADA Standards, whose resolution is readily

        achievable.

viii.   The Plaintiff could not use the lavatory faucets without assistance, as they require a tight grasp

        and twist to operate. Violation: Compliant faucets are not provided at the lavatory violating




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          Sections 4.19.5 and 4.27.4 of the ADAAG and Sections 309.4 and 606.4 of the 2010 ADA

          Standards, whose resolution is readily achievable.

 ix.      The Plaintiff could not use the paper towel dispenser without assistance, as it is mounted too

          high. Violation: There are dispensers provided for public use in the restroom, with controls

          outside the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and Sections

          308 & 309.3 of the 2010 ADA Standards, whose resolution is readily achievable.


              21.       The discriminatory violations described in Paragraph 20 are not an exclusive list

       of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of

       public accommodation in order to photograph and measure all of the discriminatory acts violating

       the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

       requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

       presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and equal

       enjoyment of the Commercial Property and other businesses therein; Plaintiff requests to be

       physically present at such inspection in conjunction with Rule 34 and timely notice.

              22.       The individual Plaintiff, and all other individuals similarly situated, have been

       denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

       privileges, benefits, programs and activities offered by Defendant’s Commercial Property and

       other businesses within the Commercial Property; and has otherwise been discriminated against

       and damaged by the Defendant because of the Defendant’s ADA violations as set forth above.

       The individual Plaintiff, and all others similarly situated, will continue to suffer such

       discrimination, injury and damage without the immediate relief provided by the ADA as requested

       herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

       Defendant’s places of public accommodation in order to determine all of the areas of non-

       compliance with the Americans with Disabilities Act.

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          23.        Defendant has discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of their places of public accommodation or commercial facility, in violation of

   42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          24.        Plaintiff is without adequate remedy at law, will suffer irreparable harm, and have

   a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

   all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

   entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

   U.S.C. § 12205 and 28 CFR 36.505.

          25.        While Defendant, CDG - ACADEMY & BRIARGATE, LLC, as landlord and

   owner of the Commercial Property Business, is primarily responsible for all ADA violations listed

   in this Complaint, tenants and landlords can be held is jointly and severally liable for ADA

   violations.

          26.        A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public similarly

   situated, will continue to suffer such discrimination, injury and damage without the immediate

   relief provided by the ADA as requested herein. In order to remedy this discriminatory situation,

   the Plaintiff require an inspection of the Defendant’s place of public accommodation in order to


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   determine all of the areas of non-compliance with the Americans with Disabilities Act.

          27.        Notice to Defendant is not required as a result of the Defendant’s failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendant.

          28.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendant operates its

   businesses, located within the Commercial Property located at 7808 N Academy Blvd, Colorado

   Springs, Colorado, the interiors, exterior areas, and the common exterior areas of the Commercial

   Property and businesses to make those facilities readily accessible and useable to the Plaintiff and

   all other mobility-impaired persons; or by closing the facility until such time as the Defendant

   cures its violations of the ADA.

          WHEREFORE, the Plaintiff, CARLOS BRITO, respectfully requests that this Honorable

   Court issue (i) a Declaratory Judgment determining Defendant, at the commencement of the

   subject lawsuit, were and are in violation of Title III of the Americans with Disabilities Act, 42

   U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendant, including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendant

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §


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   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: August 16, 2019


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